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                                           #648



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                      )
                                               )
               Plaintiff,                      )
                                               )
v.                                             )       NO.97-CR-30089-WDS
                                               )
DERRICK MITCHELL,                              )
                                               )
               Defendant.                      )


                               MEMORANDUM AND ORDER

STIEHL, District Judge:

       This matter is before the Court for docket control. The defendant filed a motion to vacate

sentence (Doc. 760), which is, in essence, a collateral attach on his sentence. No matter what the

title, if the motion is actually on which seeks review of the sentence, it must be filed as a habeas

action pursuant to 28 U.S.C. § 2255. The defendant filed this motion after his second or successive

habeas petition had been denied by the Seventh Circuit. Mitchell v. United States, 02-CV-906-WDS

(See, Doc. 34). In light of the fact that this motion seeks review of his sentence, and he has not

received leave to file a second or successive petition, the motion to vacate is DISMISSED. See,

Nunez v. United States, 96 F.3d 990 (7th Cir. 1996).

IT IS SO ORDERED



DATE: 17 November, 2010

                                       s/ WILLIAM D. STIEHL
                                          DISTRICT JUDGE
